Exhibit A




                     AFFIDAVIT OF JASON J. DEFREITAS IN SUPPORT OF
                         AN APPLICATION FOR A SEARCH WARRANT

            I, Jason J. DeFreitas, a Special Agent with Homeland Security Investigations, being duly

  sworn, depose and state as follows:

  1.        I am a Special Agent with the Department of Homeland Security (DHS) United States

            Immigration and Customs Enforcement (ICE), Homeland Security Investigations (HSI)

         assigned to the Boston Field Office and have been employed by HSI since 2006. I am

            currently assigned to the Cyber Group. Prior to my assignment to the Boston Field Office,

            I was assigned to the HSI Los Angeles Field Office, where I sei*ved as a rhember of the

         Intellectual Propeity Rights Group. In connection with my official duties, I have

            investigated and assisted other agents in investigating cases involving a wide variety of

         criminal violations including, but not limited to, fraud, intellectual property rights, cultural

            propertytheft, and child pornography. Prior to my employmentwith ICE HSI, I served as

         a United States Customs and Border Protection (CBP) officer at the Los Angeles

         International Airport for approximately four years. My duties included the interception

         and examination of individuals and merchandise for violations of United States laws.

  2.     This Affidavit is submitted in support of an application under Rule 41 of the Federal Rules

         of Criminal Procedure to search the residence loeated                                Acushnet,

         Massachusetts 02743 (the "SUBJECT PREMISES"), as more fully described in

         Attachment A, which is incorporated herein by reference.

  3.     As described herein, there is probable cause to believe that the SUBJECT PREMISES

         contains contraband and evidence, fruits, and instmmentalities of violations of 18 U.S.C.

            § 2252A (possession and distribution of child pornography), which items are more

         specifically described in Attachment B, which is also incorporated herein by reference.
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